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                                                                     June 23, 2020

         VIA ECF AND EMAIL

         Hon. James L. Garrity, Jr.
         U.S. Bankruptcy Court
         One Bowling Green
         New York, NY 10004


                 Re:     In re Orly Genger, Case No. 19-13895-JLG

         Dear Judge Garrity:

               On behalf of our law firm Kasowitz Benson Torres LLP (KBT), a creditor in this
         bankruptcy, we write in response to Mr. Dellaportas’ letter sent yesterday on behalf of Sagi
         Genger concerning today’s discovery conference with the Court (Dkt. No. 268).

                 Mr. Dellaportas mistakenly claims that KBT and Eric Herschmann, a KBT partner, failed
         to interpose objections to his discovery demands within the time prescribed by Rule 45. Rule 45
         does not apply. He served KBT and Herschmann with discovery notices governed by Rule 34
         and Local Rule 7034-1, not subpoenas subject to Rule 45 time limits. The time for KBT and
         Herschmann to object has not yet expired.

                 More to the point, his complaint that we did not “commit” to produce documents and
         appear for depositions is also incorrect. We previously agreed to produce responsive documents,
         and Mr. Dellaportas tried to unilaterally impose a deadline within which to conclude our meet
         and confer. He should have communicated with us cooperatively instead of unilaterally
         terminating discussions. Whether he cooperates with us or not, we will nonetheless work out the
         logistics and timing, but these details – normally resolved by counsel – need not detain the Court.
         Both KBT and Mr. Herschmann will appear for their depositions – indeed, KBT has already
         been deposed in an earlier related judgment enforcement proceeding and Herschmann agreed to
         be deposed, which he said in the very email Mr. Dellaportas quotes in his letter.

                 One final matter: while Mr. Dellaportas will be deposing these lawyers, Mr. Dellaportas
         himself refused to honor a subpoena served on him seeking nonprivileged information about his
         role as scrivener and coordinator for various third-parties, including Dalia Genger and the Orly
         Genger Trust and related entities created by that Trust or its trustees. Mr. Dellaportas firmly
         stated that he will not comply with the subpoena because he did not receive a check for the
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witness fee, he objects to the manner of service, and the subpoena was not in his view
appropriately signed, Covid-19 restrictions notwithstanding. We would like to discuss this
matter with the Court today, time permitting.


                                                           Respectfully submitted,

                                                           /s/ Michael Paul Bowen


CC: All Counsel of Record (via email)
